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                      IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN


 UNITED STATES OF AMERICA,                 Crim. No. 20-183-2
         Plaintiff,                        HON. ROBERT J. JONKER
 v.                                        BRIEF IN SUPPORT OF MOTION
 BARRY GORDON CROFT, JR.,                  FOR ACCESS TO DETENTION
                                           HEARING EXHIBITS BY THE
         Defendant.                        DETROIT NEWS AND SCRIPPS
                                           MEDIA, INC.
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     BRIEF IN SUPPORT OF MOTION FOR ACCESS TO DETENTION HEARING
         EXHIBITS BY THE DETROIT NEWS AND SCRIPPS MEDIA, INC.

        In Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555, 571-72 (1980), the Supreme

Court of the United States declared as follows:

        When a shocking crime occurs, a community reaction of outrage and public protest
        often follows. Thereafter the open processes of justice serve an important
        prophylactic purpose, providing an outlet for community concern, hostility, and
        emotion...

        To work effectively, it is important that society’s criminal process “satisfy the
        appearance of justice,” and the appearance of justice can best be provided by
        allowing people to observe it...

        People in an open society do not demand infallibility from their institutions, but it
        is difficult for them to accept what they are prohibited from observing. (citations
        omitted)

This case involves a violent and “shocking crime”: an alleged plot to kidnap Michigan Governor

Gretchen Whitmer from her vacation home and to frustrate responding law enforcement efforts by

blowing up a nearby bridge. Further, the proceeding at issue here is of central importance to this

case: it concerns the hearing at which the Magistrate Judge considered evidence and then, based

upon what she saw and heard, ordered the defendant detained. And, yet, the public has been

deprived of a fair opportunity to consider that evidence for itself. It has been asked to accept what

it has not been allowed to see. No adequate justification has been offered for this extraordinary

frustration of the public’s right to know.

        In order to fulfill their obligation to report to the public on matters of importance, The

Detroit News, a daily newspaper with one of Michigan’s largest circulations, and Scripps Media,

Inc., which operates stations in Detroit (d/b/a WXYZ and WMYD), Lansing (d/b/a WSYM), and

Grand Rapids (d/b/a WXMI), wish to secure access to the same materials sought by BuzzFeed,




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Inc. in its motion filed on May 20, 2021. For their brief, The Detroit News and Scripps Media, Inc.

join in and adopt the brief filed by BuzzFeed, Inc. in support of its motion on that same date.


                                              Respectfully submitted,
                                              HONIGMAN LLP

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Dated: May 21, 2021




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    CERTIFICATE OF COMPLIANCE WITH LOCAL CRIMINAL RULE 47.2(b)(ii)

        Pursuant to LCrR 47.1(b)(ii), counsel for The Detroit News and Scripps Media, Inc. hereby

certifies that the foregoing Brief in Support of Motion for Access to Detention Hearing Exhibits

by The Detroit News and Scripps Media, Inc. contains 329 words as defined by LCrR 47.1(b)(i).

The word count was generated using the word count function in Microsoft Word 2016.


                                             By: /s/ Leonard M. Niehoff




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                               CERTIFICATE OF SERVICE


       I certify that on May 21, 2021, I caused this document to be filed with the Clerk of the

Court by the CM/ECF system, which will cause notice of same to be sent to all counsel of record.

                                    By:     s/ Leonard M. Niehoff




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